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 Claudia R. Tobler

 Counsel for Reorganized Debtor


 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 ----------------------------------------------------------------x
 In re:                                                           :     Chapter 11
                                                                  :
 CM WIND DOWN TOPCO INC.                                          :     Case No. 17-13381 (SCC)
                                                                  :
                   Reorganized Debtor.1                           :
                                                                  :
                                                                  :
 ----------------------------------------------------------------x

                   NINTH NOTICE OF ESTABLISHMENT OF OMNIBUS
                 HEARING DATES PURSUANT TO ORDER IMPLEMENTING
                CERTAIN NOTICE AND CASE MANAGEMENT PROCEDURES

         PLEASE TAKE NOTICE that pursuant to the order, dated December 7, 2017

 [Docket No. 73] (the “Case Management Order”), implementing certain notice and case

 management procedures, the United States Bankruptcy Court for the Southern District of New

 York (the “Bankruptcy Court”) has scheduled the following omnibus hearing dates and times in

 the above-captioned case:

                            May 23, 2019 at 11:00 a.m. (Prevailing Eastern Time).

                            June 12, 2019 at 11:00 a.m. (Prevailing Eastern Time).
 1
     The last four digits of Reorganized Debtor’s tax identification number are 9663. The location of the
     Debtor’s service address is: 3280 Peachtree Road, N.W., Suite 2200, Atlanta, Georgia 30305.
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        PLEASE TAKE FURTHER NOTICE that, except as otherwise ordered by the

 Bankruptcy Court, the Case Management Order governs the scheduling of all matters to be heard

 on the foregoing hearing dates.

        PLEASE TAKE FURTHER NOTICE that each hearing will be held before the

 Honorable Shelley E. Chapman, United States Bankruptcy Judge, in Courtroom 623, United States

 Bankruptcy Court for the Southern District of New York, One Bowling Green, New York, New

 York, 10004.


 Dated: April 2, 2019
 New York, New York
                                           PAUL, WEISS, RIFKIND, WHARTON
                                           & GARRISON LLP


                                           /s/ Paul M. Basta
                                           Paul M. Basta
                                           Lewis R. Clayton
                                           Jacob A. Adlerstein
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